  8:11-cv-00240-JMG-CRZ Doc # 90 Filed: 08/31/12 Page 1 of 1 - Page ID # 368



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

DOUGLAS BRENNAN, Personal
Representative of the ESTATE OF
DENNIS BRENNAN,
                                                        8:11CV240
                 Plaintiff,
           v.                                          JUDGMENT
UNITED STATES OF AMERICA,
CHHANDA BEWTRA, M.D.,
CREIGHTON UNIVERSITY, ALAN
RICHARDS, M.D., NEBRASKA
METHODIST HEALTH SYSTEMS,
INC., a Nebraska corporation, d/b/a
METHODIST HOSPITAL,
                 Defendants.

      The parties have jointly stipulated that this case should be dismissed
without prejudice. Filing 89. They have also agreed that each party will bear
its own costs and that the complete record should be waived. Accordingly,

     IT IS ORDERED:

     1.    The parties' joint stipulation for dismissal (filing 89) is accepted;

     2.    The case is dismissed without prejudice; and

     3.    Each party will bear its own costs and the complete record is
           waived.

     DATED this 31st day of August, 2012.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
